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 I   D ir e ct Pur c h as er P I ain t iffs

 9

t0                                        UNITED STATBS DISTRICT COURT
ll                                     NORTHBRN DISTRICT OF CALIFORNIA
12                                            SAN FRANCISCO DIVISION
1a
IJ   IN RE: CATHODE RAY TUBE (CRT)                      Master File No. CV-07-5944-SC
     ANTITRUST LITìGATION
14                                                      MDLNo. l917
l5                                                      DIRBCT PURCHASER PLAINTIFFS'
     This Document Relates to:
                                                        NOTICE OF MOTION AND MOTION FOR
16
     Crago, d/b/a Dash Compulers, Inc., et al. v.       CLASS CERTIFICATION WITH RESPBCT
     Mitsubishi Eleclric Corporation, et al., Case      TO THE THOMSON AND MITSUBISHI
17
     No. l4-CV-20s8 (SC).                               DBFBNDANTS; MEMORANDUM OF
                                                        POINTS AND AUTHORITIES IN SUPPORT
l8                                                      THEREOF
t9
                                                        Date: December 12,2014
20                                                      Time: l0:00 a.m.
                                                        Judge: The Honorable Samuel Conti
21                                                      Ctrm: I, lTth Floor
22

¿)

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          REDACTED VERSION OF DOCUMENT
26
               SOUGHT TO BE SEALEI)
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         DPPs'NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
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        DPPs'NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT THEREOF; MasteT FiIe No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969 Filed 11/07/14 Page 7 of 33




 I                                NOTICE OF MOTION AND MOTION
 2   TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 J          PLBASB TAKB NOTICB that on December 12,2014 at l0:00 a.m., before the Honorable

 4   Samuel Conti, District Judge, at San Francisco Coufihouse, Couftroorn l, 17fh Floor, 450 Golden

     Gate Avenue, San Francisco, CA94102, Direct Purchaser Plaintiffs will and hereby do move for

 6   class cerlification pursuant to Rule 23 of the Federal Rules of Civil Procedure.

 7          Direct Purchaser Plaintiffs seek ceftification of the following class for darnages pursuant to

 I   Federal Rule of Civil Procedure 23(b)(3):

 9          Afl persons and entities who, between March 1, 1995 and November 25,2007,
            directly purchased a CRT Product in the United States from any Defendant or any
r0          subsidiary or affiliate thereof or any co-conspirator or any subsidiary or affiliate
            thereof. Excluded from the class are defendants, their parent companies, subsidiaries
l1          or affiliates, any co-conspirators, all governmental entities, and any judges or justices
            assigned to hear any aspect ofthis action.
12

l3   In addition, the Direct Purchaser Plaintiffs move for an order appointing Saveri & Saveri, Inc. as
1A
tl   Class Counsel pursuant to Federal Rule of Civil Procedure 23(Ð.

15          This motion is based on this Notice of Motion and Motion, the supporting Memorandum of

lÕ   Points and Authorities, the Expert Reporl of Jeffi'ey J.Leitzinger, Ph.D. (November 6,2014), the

17   Declaration of R. Alexander Saveri, the IProposed] Order Granting Direct Purchaser Plaintiffs'

l8   Motion for Class Certification with Respect to Thomson and Mitsubishi Defendants, all exhibits and

19   appendices to such docunrents, any papers filed in reply, any argument as may be presented at the

20   hearing, and allotherpapers and records on file in this matter.

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         DPPs'NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
        MEMORANDUM OF POINTS & AUTHORITìES lN SUPPORT THEREOF; Masrer File No. CV-07-5944-SC
            Case 4:07-cv-05944-JST Document 2969 Filed 11/07/14 Page 8 of 33




                             MBMORANDUM OF POINTS AND AUTHORITIES
        I.      INTRODUCTION.
                The Cathode Ray Tube ("CRT") litigation involves one of the most well-documented global

        price-fixing conspiracies in history. It has been the subject of numerous enforcement proceedings by

  J     domestic and foreign competition authorities.r

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          Cathode Ray Tubes or CRTs are color picture tubes ("CPTs") used in televisions, and color display
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        tubes ("CDTs") used in computer monitors. CRT televisions and CRT rnonitors sold by Defendants
r3      ivill be referred to as "Finished Products."
        'As used herein, "Thomson" refers to: Technicolor SA (f/k/a Thornson SA) ("Thomson SA") and
1A      Technicolor USA, lnc. (flWa Thomson Consumer Electronics, Inc.) ("Thomson Consumer"), and
IT
        Technologies Displays Americas LLC (flWa Thomson Displays Americas LLC) ("TDA"). Allied
        with Thomson is Defendant Videocon Industries, Ltd. ("Videocon").As used herein, "Mitsubishi"
l5      refers to: Mitsubishi Electric Corporation, Mitsubishi Electric US, Inc. (f/k/a Mitsubishi Electric &
        Electronics USA, Inc.), and Mitsubishi Electric Visual Solutions America, lnc. (flWa Mitsubishi
16
        Digital Electronics America, lnc.). Thornson, Videocon, and Mitsubishi are referred to collectively
        herein as "Defendants." The other co-conspirators, with most of whom the Direct Purchaser
17
        Plaintiffs ("DPPs") have already settled, are: (a) Chunghwa Picture Tubes, Ltd. and Chunghwa
        Picture Tubes (Malaysia) Sdn Bhd. (collectively "Chunghwa"); (b) Daewoo International
l8      Corporation, Daewoo Electronics Corporation f/k/a Daewoo Electronics Company, Ltd., Orion
        Electric Company ("Orion"), and Daewoo-Orion SocieteAnonyme (collectively "Daewoo/Orion");
19
        (c) HitachiLtd.; Hitachi Displays, Ltd., Hitachi America, Ltd., HitachiAsia, Ltd., Hitachi Electronic
        Devices (USA), and Shenzhen SEG Hitachi Color Display Devices, Ltd. (collectively "Hitachi");
20      (d) Irico Group Corporation, Irico Group Electronics Co., Ltd., and Irico Display Devices Co., Ltd.
        (collectively "lrico"); (e) LG Electronics, Inc. ("LGE"), LG Electronics USA, Inc., and LG
21
        Electronics Taiwan Taipei Co., Ltd. (collectívely "LG")t (Ð LP Displays International, Ltd.
        ("LPD"); (g) Panasonic Corporation,flWa Matsushita Electric Industrial Co., Ltd., Matsushita
22
        Electronic Corporation (Malaysia) Sdn Bhd., and Panasonic Corporation of North America
aa      (collectively "Panasonic"); (h) Koninklijke Philips Electronics N.V., Philips Electronics lndustries
L)
        Ltd., Philips Electronics North America, Philips Consumer Electronics Co., Philips Electronics
.,, A   Industries (Taiwan), Ltd., and Philips dba Arnazonia Industria Electronica Ltda. (collectively
        "Philips"); (i) Samsung Electronics America, Inc., Samsung SDI (Malaysia) Sdn Bhd., Samsung
        SDI Co., Ltd. flVa Samsung Display Device Company ("Samsung SDI" or "SDl"), Samsung SDI
25
        Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., and Tianjin
        Samsung SDI Co., Ltd. (collectively "Samsung"); O Thai CRT Company, Ltd.; (k) Toshiba
26
        Corporation, Toshiba America, Inc., Toshiba America Consumer Products LLC, Toshiba America
        Consumer Products, Inc., Toshiba America Electronic Cornponents, Inc., Toshiba America
27
        Information Systems, Inc., and Toshiba Display Devices (Thailand) Company, Ltd. (collectively
        "Toshiba"); (l) MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture Display Co., Ltd.,
28      ("MTPD"); and (m) Bejing-Matsushita Color CRT Company,Lfd. ("BMCC").

              DPPs'NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
             MEMORANDUM OF POìNTS & AUTHORITIES IN SUPPORT THEREOFT Master File No. CV-07-5944-SC
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   J             The evidence also demonstrates that certification of a DPP class is appropriate. The proposed

   4    DPP class Íneets the requiretnents of F.R.C.P. 23(a); in addition, the proposed class satisfies Rule

   5    23(b)(3) in that classwide issues predominate over individual issues.

   6             Moreover, the Court has already certified several classes in this litigation, and the findings it

   1    made in connection with those classes cornpel ceftification here. On September 24,2013, this Court

   8    adopted the Interim Special Master's ("lSM") repoft and recommendation granting ceftification of

   o    the Indirect Purchaser Plaintiffs' ("lPP") proposed class.ln re Cathode Ray Tube (CRT) Antitrust

l0      Lìtig., No. C-07-5944-5C,20t3 WL 5391 159 (N.D. Cal. Sept. 24,2013) ("CRT r'). This order

ll      required the Coult to find, inter alia, that impact and damages could be proved on a classwide basis

l2      at the direct purchaser level of distribution. Id. aL*6. These questions are identicalto the issues

l3      presented here. In addition, this Couft has certified seven direct purchaser settlement classes.i

l4      II.      PROPOSED CLASS TO BB CERTIFIBD.

l5               The DPPsa are direct purchasers of CRTs and Finished Products from Defendants, theirco-

lo      conspirators, and/or their subsidiaries or affiliates.s They have broLrght this action on behalf of

17      themselves and a proposed class ("Class") defined as:

l8      ' Order Granting Settlement Class Certification and Prelim. Approval of Class Action Settlements
        with CPT and Philips (Dkt. I179) (May 3,2012); Order Granting Settlement Class Certification and
19
        Prelim. Approval of Class Action Settlement with Panasonic (Dkt. 1333) (Aug.27,2012); Order
        Cranting Settlement Class Certifìcation and Prelim. Approval of Class Action Settlement with LG
20
        Defs. (Dkt l44l) (Nov. 13,2012); Order Granting Settlement Class Certification and Prelim.
        Approval of ClassAction Settlementwith Toshiba Defs. (Dkt. 1603) (Mar. 18,2013); Order
21
        Granting Settlement Class Certification and Prelirn. Approval of Class Action Settlement with the
        Hitachi Defs. (Dkt. 2311) (Jan. 8, 2üfi;' Order Granting Settlement Class Certification and Prelim.
22
        Approval of Class Action Settlement with the Samsung SDI Defs. (DkT.2534) (Apr. I 4,2014).
        a
23        Arch Electronics, Inc.; Crago, d/b/a Dash Computers, Inc.; Meijer, Inc. and Meijer Distribution,
        Inc.;Nathan Muchnick, lnc.; Princeton Display Technologies, ìnc.; Radio & TV Equipment, lnc.;
'> /1   StLrdio Spectrum, Inc.; and Wettstein and Sons, lnc., dlbla Wettstein's.
        5
          As this Court has held, under lllinois Brick Co. t,. Illinois,43l U.S. 720 (1977) ("illinois Brick")
25
        andRoyalPrintingCo.v.KimberÌyClarkCorp.,62lF.2d323,325-26(9thCir.                    1980)("Royal
        Printing"), a purchaser fi'om a subsidiary or affiliate of a conspirator has standing to bring a treble
26
        damage action under Section 4 of the Clayton Act. l5 U.S.C. $ l5b. See In re Cathode RayTube
        (CRf) AntitrusÍ Litig.,9l I F. Supp. 2d 857,865 (N.D. Cal. 2012) ("CRT If). While rechnically an
27      "indirect" purchaser, in this context, as Judge Seeborg has explained in In re O¡stical Disk Drive
        Antitt'ttst Litigation, No. 3:10-md-2143 RS, 2012WL 1366718, at x5 (N.D. Cal. Apr. 19,2012),the
28
        difference between a "direct" purchaser from a defendant, and an "indirect" purchaser from a

               DPPs,NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
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            All persons and entities who, between March l, 1995 and Novenrber 25,2007,
 I
            directly purchased a CRT Product in the United States fì'om any Defendant or any
 2          subsidiary or affiliate thereof, or any co-conspirator or any subsidiary or affiliate
            thereof. Excluded frorn the class are defendants, their parent companies, subsidiaries
 J          or affiliates, any co-conspirators. all governmental entities, and any judges or justices
            assigned to hear any aspect ofthis action.
 4
     First Arnended Direct Purchaser Plaintiffi' Class Action Complaint Against Mitsubishi and
 5

     Thomson ("DPC") fl 92 (June I I , 2014) (Dkt. No. 34).6
 6

 l   III.   FACTUAL BACKGROUND.
            A.      The Investigations by the DOJ and Other Governmental Authorities, and the
 8
                    TFT-LCD Antitrust Litigation.
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     May of 201 l, co-conspirator SDI pleaded guilty to pafiicipating in the CRT conspiracy.t The DOJ
12
     has also indicted six former executives of co-conspirators SDI, Chunghwa, LGE, and LPD, alleging,
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     inler alia, agreements on prices, output, and market allocation; exchange of sales, production,
t4
     market share, and pricing data; auditing to verify compliance with conspiratorial agreements; and
l5
     active concealment of the conspiracy. Exs. 5-8. When announcing the indictment of Chunghwa's
16
     President, C.Y. Lin, the DOJ was clear: "[t]his conspiracy harmed countless Americans who
TI
     purchased computers and televisions using cathode ray tubes sold at fixed prices." Ex. 9.
r8
            Several foreign competition authorities have also fined participants in the CRT caftel-
t9
     including the European Commission ("EC") and the Czech Competition Authority ("CCA").8
20
     Thornson admitted liability in recent annual reports. Ex. 140.
2l
     subsidiary or affiliate is not meaningful: the "issue . . . is one of nomenclature rather than
22   substance." As the Couft has made clear, both (l) have standing to bring a treble damages action
     underSection4oftheClaytonAct; and (2)areentitledtorecoverthesameovercharge. CRTII,gll
¿J   F. Supp.2d af 871(purchasers from subsidiaries oraffiliates "are permitted to sue'forthe entire
     overcharge."') (citing Royal Printing,62l F.2d at327).
24   o
      The class defìnition has been modified to clarify that it includes purchasers of CRTs or Finished
     Products fì'om subsidiaries or affiliates of Defendants' co-conspirators.
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     7
      Declaration of R. Alexander Saveri in Suppoft of Direct Purchaser Plaintiffs' Motion for Class
zo   Cerlification with Respect to the Thomson and Mitsubishi Defendants ("Saveri Decl."), Ex. 3.
     Hereafter "Ex._" refers to exhibits to the Saveri Declaration.
27   *
      The EC fined Churighwa, Samsung, Philips, LGE, Panasonic, Toshib a, and Thomson, among
     others, I .47 billion Euros (S L9 billion). Ex. I 0. The Japan Fair Trade Cornm issíon fined Panason ic,
28
     Samsung, and LGPD a total of $37.4 million. Ex. I l. The Korean Fair Trade Commission ("KFTC")
                                                        4
          DPPs'NOMAM FOR CLASS CERTIFICATION wlTH RESPECT TO THOMSON-MITSUBISHI DEFS.:
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 I          The CRT cartel vvas the precursof to the TFT-LCD cartel. In what this Court has called the

 2   "closely related" private antitrust litigation arising with respect to the la|Ier (CRT II,9ll F. Supp. 2d

 3   at 863), the CoLrrt certified classes of direct purchasers of LCD panels and LCD finished prodLrcts. -|n

 4   re TFT-LCD (Flat Punel) Antitrust Litig.,267 F.R.D. 291,315 (N.D. Cal.2010) ("LCD f').



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            The existence and operation of the CRT conspiracy is the overwhelmingly predominant issue
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     for purposes of this motion and can be established through common, classwide proof
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     fined Samsung, Chunghwa, and LGPD $23.5 million. Ex. 12. The KFTC also produced a detailed
     reporlontheworkingsoftheconspiracy.AtranslatedversionoftherepoftisEx. l3.TheCCA
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     fined Chunghwa, Panasonic, Thomson, Toshiba, and others a total of 51.787 million CZK. Ex. 14.
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28   (Staternent o         neral Manager ì.H. Song))


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 3       IV.    ARGUMENT.
 4              The Supreme Court has long recognized that antitrust class actions are a vital component of

         antitrust enforcement. See generally Reiter v. SonoÍone Corp., 442 U.S.330,344 (1979); Hat,vaii v.

 6       Standard Oil Co.,405 U.S. 251,266 (1972). Consequently, "courts resolve doLrbts in these actions in

 7       favor of certifoing the class." In re Static Rondom Access Memory (SRAM) Antitrust Litig., No. C

 8       07-01819 CW,2008 WL 4447592, af *2 (N.D. Cal. Sept. 29, 2008) (*SRAM'). Accord, LCD 1,267

 9       F.R.D. a|299:' In re Rubber Chems. Antitrust Litig.,232 F.R.D. 346,350 (N.D. Cal. 2005) ("Rubber

t0       Chems."); In re Online DVD Rental Antitrust Litig., No. M 09-2029 PJH, 2010 WL 5396064, at x3

il       (N.D. Cal. Dec.23,2010) ("Online DVD Rental").

12              To determine whether the DPPs have satisfied their burden under Rules 23(a) and (b), the

13       couft must conduct a "rigorous analysis," which may require it to probe behind the pleadings. Ellis

\4       v. Costco Wholesale Corp.,657 F.3d 970,980-81 (9th Cir.2011). However, the merits of the DPPs'

15       case may be considered only if necessary to determine if the requirenrents of RLrle 23 are nret. As the

16       Supreme Couft recently explained:

tl              Although we have cautioned that a coufi's class-ceÍilìcation analysis must be
                "rigorous" and may "entail some overlap with the merits of the plaintiffls underlying
r8              clainr," Wal-Mart Stores Inc. v. Dukes, I 31 S. Cf . 2541, 2551 (201 I ) l("Wal-Mart"))
                (internal quotation marks omitted), Rule 23 grants coutts no license to engage in free-
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             DPPs'NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
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             ranging merits inquiries at the cerlification stage. Merits questions may be considered
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             to the extent-but only to the extent-that they are relevant to determining whether
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             the Rule 23 prerequisites for class certification are satisfied. See id. at 2552 n.6 (a
             district court has no "'authority to conduct a prelirninary inqLriry into the merits of a
  3          suit"'at class certification unless it is necessary "to determine the propriety of
             cerlification" (quoting Eisen v. Carlisle & Jacquelin, 417 U.S. 156,177 (1914)).
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  +
      Amgen Inc. v. Conn. Ret. PIans,l33 S. Ct. 1184, I194-95 (2013) (parallel citations onritted).

             As the Ninth Circuit explained in Ellis: "[t]he district court is required to examine the merits
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      of the underlying clairn in this context, only inasmuch as it must determine whether common
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      questions exist; not to determine whether class members could actually prevail on the merits of their
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      claims." 657 F.3d at 983 n.8. Thus, it would be improper to determine on a certification motion
  9
      which of the parties' respective experts' findings and observations are more credible on the merits:
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      "[t]o hold otherwise would turn class cefiification into a mini-trial." 1d. Similarly, neither the DPPs
ll
      nor their experts are required to prove that Defendants' conduct was anticornpetitive or had an
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1a    anticompetitive impact. SRAM,2008 WL 4447592, aT*5; In re Dynamic Random Access Memory
IJ

      (DRAM) Antittust Litig., No. M 02-1486 PJH,2006 WL 1530166,at*9 (N.D. Cal. June 5, 2006)
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      ("DRAM'). Plaintiffs need only show that they satisfy the prerequisites set forth in Rule 23(a)-
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      numerosity, commonality, typicality, and adequacy of representation-and one subsection of Rule
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      23(b). See Rubber Chems.,232 F.R.D. at349-50.

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             A.      Plaintiffs Satisfy the Requirements of Rule 23(a\.
             Numerosity. Where the precise size of the class is unl<nown, but "'general knowledge and
19
      common sense indicate that it is large, the numerosity requirelnent is satisfied."' SRAM,2008 WL
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      4447592, at *3 (quoting I Alba Conte & Herbert B. Newberg,Newberg on Class Actions $ 3:3 (4th
21

      ed. 2002)). See also Ries v. Ariz. Beverages USA LLC,287 F.R.D. 523,536 (N.D. Cal. 2012).
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1A                                                                 Accordingly, the Rule 23(a)(l) standard

      is satisfied. See, e.g., Bofus v. Aspen Realty, Lnc.,236 F.R.D. 652,655-56 (D. ldaho 2006); Welting
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      v. Alexy,l55 F.R.D. 654,656 (N.D. Cal. 1994).
¿o
             Commonality. Rule 23(a)(2) requires that class members share common issues of law or
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28
      fact.Onlyonesignificantissueisnecessarytosatisfythecommonalityprong.             llal-Mart,l3l S.Ct.
                                                         l5
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  I   a|2556;Wolinv.JaguarLandRoverN.Ant.,LLC,6lTF.3d                   1168, 1172(gfhCir.20l0).Courrsin

 2    this Circuit have repeatedly held that this prong is satisfied where-as here-a price-fìxing

 3    conspiracy is alleged. As the court explained in DRAM "'the very nature of a conspiracy antitrust

 4    action compels a finding that common questions of law and fact exist."' 2006 WL 1530166, at *3

 5    (quoting Rubber Chents.,232 F.R.D. at 351); see also In re Aftermarket Auto. Lighting Prod.s.

 6    AntitrttsÍ Litig.,276 F .R.D. 364, 368 (C.D. Cal. 2011) ("Auto Lighting"); Online DVD Rentals,2010

 1    WL 5396064, aT*3. Other common questions include whether the conspiracy caused the prices of

 8    CRTs to be set at supra-competitive levels, the measure of classwide damages and whether the

 9    conspirators engaged in affirmative acts to conceal the conspiracy.

r0               Typicalify. Rule 23(a)(3)'s "typicality requirement is satisfied if each class member's claim
lt    arises from the same course of events that led to the claims of the representative parties and each

l2    class member makes similar legal arguments to prove the defendant's liability." Thontas & Thomas

l3    Rodmakers,Inc. v. J{svtport Adhesives & Composites, lnc.,209 F.R.D. 159,164 (C.D. Cal. 2002)

14    ("Thomas") (citations omitted); see also SRAM,2008 WL 4447592, at *3. Class representatives'

l5    claims "need not be substantially identical" to those of absent class members, as "[s]ome degree of

16    individuality is to be expected in all cases." Cifuentes v. Red Robin Int'1,1nc., No. C-11-5635-EMC,

17    2012WL 693930, at *5 (N.D. Cal. Mar. 1,2012). See also Hanlon v. Chrysler Corp.,l50 F.3d
r8    1   0l I , 1 020 (9rh Cir. I 998).

19               As with the commonality prong, coufts have found the typicality requirement easily satisfied

20    in price-fixing cases because "in instances wherein it is alleged that the defendants engaged in a

21    comtnon scheme relative to all members of the class, there is a strong assumption that the claims of

22    the representative parlies will be typical of the absent class members." In re Catfish Antitt ust Litig.,

¿)    826 F. Strpp. l0l 9, 1035 (N.D. Miss. 1 993). See also In re Citric Acid Antitt u$ Lirig., No. 95-1092,
.,4
      C-95-2963 FMS, I 996 WL 655791, at *3 (N.D. Cal. OcT.2, 1996) ("Citric Acid').

25               Purported factual differences from Class members with respect to purchasing practices or

26    dealings with defendants do not preclude typicality. Online DVD Rental,2010 WL 5396064, at*4

27    (inquiry focuses on the conduct of the defendants, not on their individual dealings or transactions

28    with plaintiffs); DRAM,2006 V/L 1530166, at *4. As the court explained in LCD 1: "'liln cases

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     I   involving an alleged price-fixing conspiracy, the representative plaintifls claim is usually

     2   considered typical even though the plaintiff followed different purchasing procedures, purcliased in

     3   different quantities or at different prices, or purchased a different mix of products than did the

 T       members of the class."'267 F.R.D. at 300 (quoting DRAM,2006 WL 1530166, at x4).

     5           Tlie named DPPs' claims are typical of the claims of other putative Class members because

     6   "they stem from the same event, practice, or course of conduct that forms the basis of the claims of

     7   the class and are based on the same legal or remedial theory." Citric Acid, 1996 WL 655791, ar *3.

     8   The alleged conspiracy setthe supra-corxpetitive prices all Plaintifß and Class members paid and
     o   forms the linchpin of the price-fixing claims of every Plaintiff and Class member. That some

l0       Plaintiffs and Class members purchased CRTs as part of Finished Products does not undermine the

ll       typicality of Plaintiffs' claims. As noted above, the Couft has already held that Finished Products

12       purchasers may seek the same overcharge as purchasers of CRTs. CRT II,9l l F. Supp. 2d at 861.

13               Adequacy. Plaintiffs also satisfli Rule 23(a)(4). Adequacy requires that Plaintiffs (l) have no

14       interests that are antagonistic to or in conflict with the interests of the class;and (2) refain counsel

t5       able to vigorously prosecute the interests of the class.,See SRAM,2008 WL 4447592, at *4. "[T]he

16       adequacy-of-representation requirement is satisfied as long as one of the class representatives is an
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lt       adequate class representative." Rodriguez v. West Publ'g Corp.,563 F.3d 948, 961 (9th Cir. 2009).

t8               Coutls have also regularly found this requirement satisfied in price-fixing cases. Auto

19       Lighting,276 F.R.D. aT374 (where plaintiffs have "alleged a broad conspiracy, coufts have not

20       required . . . that the representative ha[s] purchased from all ofthe defendants orthat he ha[s] been

21       adversely affected by all of the means and methods by which the alleged conspiracy was

22       implemented."). Class representatives "will be found to be adequate when the attorneys representing

LJ       the class are qualified and competent, and the class representatives are not disqualified by interests

24       antagonistic to the remainder of the class." Online DVD RentaÌ,2010 WL 5396064, aI*4.

25       Moreover, "[t]he mere potential for a conflict of interest is not sufficient to defeat class certifìcation;

26       the conflict must be actual, not hypothetical." SRAM,2008 WL 4447592, at *4. Here, the named

27       DPPs' interests do not conflict with those of absent Class members. The named DPPs allege that all

28       Class members were injured by the same conspiracy in the same way. All Plaintifß and Class


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  I   members seekthe same relief in the fonr of overcharge damages, and share an identical interest in

 2    proving Defendants' liability.

  3           The named DPPs have also retained skilled counselwith extensive experience in prosecuting

 4    antitrust class actions. The CoLrrt has appointed GLrido Saveri and Saveri & Saveri, Inc. as Interim

  5   Lead Class Counsel. OrderAppointing Interim Lead Counsel (May 9,2008) (Dkt. No. 282).Mr.

  6   Saveri and his finn have undertaken the responsibilities assigned to them and- with other able

  7   Plaintiffs'counsel-have vigorously pursued the litigation on behalf Plaintiffs and the proposed
  8   Class. Among other things, Plaintiffs have obtained seven settlements totaling over Sl27 million.

  9   The Couft appointed the Saveri firm lead counsel for each settlement class.35 The Saveri firm has

r0    devoted substantial time, resources, and leadership necessary to vigorously prosecute this action,

1l    and wilf continue to do so. Plaintiffs plainly meet the adequacy requirement of Rule 23(a)(4).36

12            B.      This Action Meets the Requirements of Rule 23(bX3).

13            To qualify for ceftification under Rule 23(b)(3) a class must meet two additional

14    requirements: "[c]ommon questions must predominate over any questions affecting only individual

t5    members; and class resolution must be superior to other available methods for the fair and efficient

16    adjudication of the controversy." Antchem Prods., Inc. v. Windsor,52l U.S.591,615 (1997)

l7    (internal quotations omitted). As noted by the Supreme Court: "[p]redorninance is a test readily met

r8    in certain cases alleging.. . violations of the antitrust laws." Id. ar.625.

19                    l.      Common Questions of Law and Fact Predominate.

20            Courts commonly find the "predominance" requirement of Rule23(b) satisfied in direct
'>1   pttrchaser horizontal price fixing cases. See. e.g., Messner v. Northshore Univ. HealthSystent,66g

22    F.3d 802, 815 (7th Cir.20l2) ("Messner"); Sullivan v. DB InvesÍntents, lnc.,667 F.3d273,300 (3d

¿3    Cir. 201 1), cert. denied sub nont. Muruay v. Sullivan, I 32 S. Ct. I 876 (2012), Thontas,209 F.R.D. at
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      167 ("[i]n price-fixing cases, 'coufts repeatedly have held that the existence of the conspiracy is the

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      tt Suu supra note 3.
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      36
         Mt. Saveri and Saveri & Saveri, Inc. also respectfully seek appointment as Lead Counsel for the
28    class pursuant to Rule 23(Ð.See Ex.l37 (Saveri & Saveri, Inc. Firrr Biography).

                                                           l8
            DPPS,NOMAM FOR CLASS CERTIFICATION WITH RESPECT TO THOMSON-MITSUBISHI DEFS.;
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 I    predominant issue and warrants ceftification even where significant individual issues are present."'

 2    (citation ornitted)).

 J            Rule 23(b)(3) "does not require a plaintiff seeking class certifìcation to prove that each

 +A   'elernen[t] of [her] claim [is] susceptible to classwide proof.' Whatthe rule does require isthat

 5    cornmon questions'predominale over any questions affecting only individual [class] lrelrbers."'

 6    Amgen,133 S. Ct. at I196 (citation omitted, brackets in original). The focus of the predominance

 1    inquiry is whether the proposed class is "sufficiently cohesive to warrant adjudication by

 8    representation." Id. at 1196-97 (quoting Amchem,52l U.S. at 623).

 9            Rule 23(b)(3)'s predominance requirement is satisfied when "comnìon questions
              represent a significant aspect of [a] case and . . . can be resolved for all members of
r0            [a] class in a single adjudication." Or, to put it another way, corrmon questions can
              predominate if a "common nucleus of operative facts and issues" underlies the claims
ll            brought by the proposed class. . . . Ìndividual questions need not be absent. The text
12
              of Rule 23(bX3) itself contemplates that such individual questions will be present.
              The rule requires only that those questions not predominate over the common
t3            questions affecting the class as a whole.

14    Messner, 669 F .3d at 8l 5 (internal citations orn itted). As this Couft noted in CRT 1, "[i]t is true that

l5    the Court's rigorous analysis overlaps with the merits of the IPPs'claims and requires that the lPPs

16    make an evidentiary case for predominance, but Defendants are trying to push the ISM and the

17    Court toward a full-blown merits analysis, which is forbidden and unnecessary at this point." 2013

r8    WL 5391 159, af x5 (citations omitted).
19            Here, comtnon issues predominate with respect to DPPs' proof of the three elements of their

20    claim: (l ) that Defendants participated in a conspiracy to fìx prices in violation of the antitrust laws;
21    (2)that DPPs suffered antitrust injury (i.e.,"inpact") as a result of the conspiracy; and (3) the
22    damages they sustained. See LCD 1,267 F.R.D. at 310; DRAM,2006 WL 1530166, at x7. Common

23    questions predominate because the DPPs will establish each of the above elements through

z+    "generalized proof'applicable to the Class as a whole.

25            Existence and Nature of the Conspiracy. If each Class member were required to prove its
26    claim individually at trial, each would show that Defendants and their co-conspirators organized,
27    participated in, and operated the same global price-fixing cafiel. Each would submit the same type

28    of proof detailed above in Section III above, namely:
                                               19
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 z                                                                                         This proof, along

 3   with econouric evidence of the conspiracy, is common to the Class and supports a fìnding of
 A
 +   predorninance. See SRAM,2008 WL 4441592, at *5 (common liability issues predominated because

 5   colrmon evidence regarding alleged conspiracy, including written records of in-person, telephone,

 6   and email communications, would be necessary to prove claims of all class members).37

 7          Classwide Proof of Impact. Proof of antitrust injury requires a showing of some injury to

 I   "business or property" due to an antitrust violation. See Reiter, 442U.5. at33741; Zenith Radio

 9   Corp. v. Hazeltine Research, [nc.,395 U.S. I 00, 126 (1969). "[O]n a motion for class certification,

r0   the Courl only evaluates whether the method by which plaintiffs propose to prove class-wide irnpact

l1   could prove such impact, not whether plaintiffs in fact can prove class-wide impact." LCD 1,267

12   F.R.D at 313. Stated another way, all that is required is that plaintiffs present a "'plausible

l3   methodology to demonstrate that antitrust injury can be proven on a class-wide basis."' Id. a|311

14   (quoting DRAM,2006 V/L 1530166, at *9); see also OnlÌne DVD Rental,2010 WL 5396064, af *9-

l5   11; SRAM,2008 WL 4441592, at *5. "[T]he issue at class ceftification is not which expert is the

16   most credible, or the most accurate modeler, but rather have the plaintiffs demonstrated that there is

t/   a way to prove a class-wide measure of [impact] through generalized proof." Online DVD Rental,

r8   2010 WL 5396064, at 'k l0 (quoting In re Ethylene Propylene Diene Monomer (EPDM) Antitrust

19   Litig.,256 F.R.D. 82, 100 (D. Conn. 2009)).38
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     t'SuualsoVitantinC,2TgF.R.D.atl0g(findingthatinactionsallegingahorizontal
                                                                                               price-fixing
2l   conspiracy, "coltrts have frequently held that the predominance requirement is satisfied because the
     existence and effect of the conspiracy are the prirne issues in the case and are common across the
22
     cfass"); In re Vitamins AnÍitrust Litig.,209 F.R.D. 251,264 (D.D.C. 2002) ("ViÍamins") (allegations
     of price fixing "will focus on the actions of the defendants, and, as such, proof for these issues will
¿)   not vary among class members"); Meijer, Inc. v. Abbofi Labs., No. C 07-5985 CW, 2008 WL
     4065839, ar *9 Q.J.D. Cal. Aug. 27 ,2008); Citric Acid, 1996 WL 655791 , aT. *7 .
24
     " ,Suu also Auto Lighring,276 F.R.D. a,-373-74 ("the Couft is not supposed to decide at the
25   ceftification stage which expeft analysis or model is better"); LCD 1,267 F.R.D. at 313 ("To
     determine predominance, a court need not plunge into the weeds of an expeft dispute about potential
26   technical flaws in an expert rnethodology" (quoting Natchitoches Parish Hosp. Serv. Disf. v. Tyco
     Int'1, Ltd.,247 F.R.D.253,270 (D. Mass. 2008))); In re Apple iPod iTunes AnÍitrust ¿tig. No. C 05-
27   00037 JW,20l I WL 5864036,a|*3 (N.D. Cal. Nov.22,2011) ("iTunes") ("[t]he couft cannor
     weigh in on the merits of plaintiffs' substantive arguments, and must avoid engaging in a battle of
28   expert testimony").
                                              20
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  I           The DPPs present three types of classwide evidence. First, there is conternporaneous

 2    evidence of classwide impact. Second, Plaintiffs' expert economist, Dr. Leitzinger presents

 J    statistical evidence of classwide harm. Third, Dr. Leitzinger, concludes, based upon evidence ofthe

 4    structure of the CRT market and the operation of the CRT conspiracy, that the conspiracy caused

 5    classwide irnpact. Each of these categories of evidence constitutes a "plausible methodology" to

 6    prove generalized harm. Collectively, they easily satisfy the requirements of Rule 23(b)(3).

 7            First, evidence of conspiratorial conduct can prove impact. See, e.g.,In re Titanium Dioxide

 8    Antitrust Litig.,284 F.R.D. 328,34546 (D. Md. 2012) ("Titanium"); In re High-Tech Emp.

 9    Antitrust Litig.,289 F.R.D. 555,570-73,576 (N.D. Cal.2013). Here, as explained above, there is

r0    abundant evidence common to the Class that Defendants' conspiracy had classwide impact.

t1

12                                                             See Section III.B.2 above.

IJ           Proof of a conspiracy to establish a "base" price would establish at least thefact of
             damage, even if the extent of the actual damages suffered by the plaintiffs would
l4           vary. . . . [T]he proof with respect to the "base" price from which these negotiations
             began, or the structure of the conspiracy to affect individual negotiations, would be
15
             common to the class. Accordingly . . . the fact of damage is predominantly, if not
16
             entirely, a corrmon question.

17    EPDM,256 F.R.D. at 89 (quoting In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493,

l8    523 (S.D.N.Y. 1996) ("NASDAQ")); see also In re Urethane Antitrust Litig., No. l3-3215,2014 WL

t9    4801253, at *6 (lOth Cir. Sept. 29, 2014) ("Urethane") ("Under the prevailing view, price-fixing

20    afiects all market pafticipants, creating an inference of class-wide impact even when prices are

21    individually negotiated. The inference of class-wide irnpact is especially strong where, as here, there

22    is evidence that the conspiracy artificially inflated the baseline for price negotiations." (citations

z.)   omitted)). See also Dk4M,2006 WL 1530166 at*9 ("In a number of price-fixing cases, coufts have
1A
LA    cerlified classes where plaintiffs have alleged that defendants conspired to set an artificially inflated

25    base-or 'benchmark' price-from which all other prices are triggered." (citations omitted)).

26

27

28                                                         ^See
                                                                  Section       above. Such proof is also
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  I   sufficient to prove classwide impact. Urethane, 2014 WL 4801253, at * 17 (acceptance of

  2   conspiratorial price increase announcements sufficient to prove classwide hann).

  3


  4                                  See High-Tech,2013         WL 1352016,a|* l7 (monitoring and
  5   enforcement of conspiratorial agreernents shows "broad effects" on class).

  6           Second, Dr. Leitzinger's statistical analysis confirms that the conspirators' setting of "price

  7   targets" for sizes of CRTs comprising about94o/o of the market not only succeeded, but also raised

  8   prices for non-targeted CRTs as well. Leitzinger Rep.I'1T 6,22-25,43-57 & figs.7-l l. Dr.

  9   Leitzinger perforrned a series of hedonic regressions that explain CRT prices using a set of

r0    observable characteristics-size, screen fonnat, whether ITC or bare, transaction quantify, and

lt    manufacturer. They showed that the vast rnajority of price variability amongst CRT buyers is

12    attributable to these characteristics, rather than disparate conspiracy impact. Id.fln22-25. Dr.

t3    Leitzinger also analyzed the effect of the conspirators' price agreements-"price targets"-en actual
1A
tl    prices. His correlation analysis shows tlrat target and actual prices were highly correlated. His

l5    regression analysis indicates-with a high degree of statistical significance-that "target prices"

16    increased actual prices. Id.flÍ]4649 & figs.8-9. Additionally, Dr.Leitzinger's correlation analyses

17    show that the prices of the few CRT sizes for which express "target prices" were not found were

r8    also highly correlated with the prices of targeted CRTs. ld.flf]55-57 &fie.Il And although Dr.

19    Leitzinger was not required to do so under Royal Printing (CRT II,9l1 F. Supp. 2d at 871), he

20    further showed through a regression analysis that conspiratorial overcharges would necessarily be

21    reflected in Finished Product prices. Leitzinger Rep.T'lJ73-81 & fig.17. The Courl has already

22    found thatthe IPP expert's analysis demonstrated "that proof of hann to direct purchasers could be

L-)   proved without individual inquiry." CRT 1,2013 WL 5391I59,at*3.

24            Third, economic analyses of the structure of an industry are anothertype of common proof

25    which coufts have relied on to find that antitrust injury is susceptible to classwide proof within the

zo    meaning of Rule 23(bX3).3e Dr. Leitzinger concludes that during the class period, the CRT industry

      tn
27      Suu, e.g.,(Jrethane,2074 WL 4801253,at *15; Titanium,284 F.R.D. af 341;Inre Chocolate
      Corlfectionary AnÍitrust Litig.,289 F.R.D. 200,209-10,220 (M.D.Pa.2012);Auto Lighring,216
28    F.R.D. af 370-72; SRÀM,2008 WL 4447592,at*5-6; DRAM,2006 V/L 1530166 at *8-10.
                                                         .r')
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 I   was characterized by a number of structural factors-market power, a highly organized conspiracy,

 2   barriers to entry, olrtpLrt restrictions, a price structllre, and ability to monitor prices-that would have

 3   resulted in classwide irnpact. Leitzinger Rep. lJlJ 6,20,21, fig.5, 2642, frg.6, 44, fig.1, 46, 5l-54,
 A
     60-63. The Court also relied on a similar analysis by the IPPs'experl in affirming a

     reconrmendation to certify a class of indirect purchasers of CRTs. CRT 1,2013 WL 53911 59, aT*3.

 6           Each of these types of evidence is sufficient to prove classwide impact; collectively the

 7   question is not close.

 8           Classwide Proof of Damages. Dr. Leitzinger's damage model applies the "usual measure"

 9   of damages-the difference between the prices actually charged for CRTs during the class period

10   and prices in a "but for" world. It is therefore tied closely to the DPPs'theory of liability.40lt is

lt   based on the well-established "before and after" method. He uses econometric techniques-a

12   reduced fonn regression analysis "widely employed by economists" (Leitzinger Rep. fl 65)-to
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IJ   compare prices during the conspiracy period with prices from "before" and "after" the conspiracy,

14   while controlling for material changes in the market between the time periods. Id.nn 64-65.

l5                                                                                            rd.fln 66-68.
l6           Dr. Leitzinger uses the period beginning                                   as the "aÍter" period.

17   While this period overlaps with the alleged conspiracy period, it is workable and appropriate

r8   because the evidence shows that the conspiracy had, as a practical matter, wound down.

19

20

2l                                             fd.nn66-67. Dr. Leitzinger's model is designed to measure
22
     oo
23      It is well-established in this Circuit that "fd]uring the class certification stage, plaintiffs need not
     supply a 'precise damage formula,' but must simply offer a proposed method for determining
24   damages that is not 'so insubstantial as to amount to no method at all."' iTunes,20l I WL 5864036,
     at x3 (quoting Online DVD Rental,2010 WL 5396064, at*11). See also LCD 1,267 F.R.D. aI314;
25   SRAM,2008 WL 4441592, aL *6; DRAM,2006 WL 1530166, at * 10. As the Supreme Couft recently
     emphasized, the proposed rnethod "need not be exact" but "must be consistent with [the plaintiffs']
26   liabif itv case." Comcast Corp. v. Behrend. 133 S. Ct. 1426. 1433 Q013) ("Comcast") (citing Story
     Parchment Co. v. Paterson Parchment Paper Co.,282 U.S. 555, 563 (1931) ("Story Parchment")).
21   To the extent that Thomson or Mitsubishi will argue that Comcast has'somehow changed the legái
     standard applicable to class cenifìcation, this Court has already expressly rejected that proposition.
28   CRT 1,2013 WL 5391 I 59, af *6-7.

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 I   the importance of past prices in detennining future prices, as well as the direct effect on prices of an

 ¿   active conspiracy. Id. flIl 69-70. Dr. Leitzinger's model determ ines overcharge percentages for each

 3   quarterof each yearofthe conspiracy ranging fi'orn 0.1 percentto 10.5 percent forCDTs and fi'om
 A
     0.2 percent to 8.3 percent fbr CPTs . I(1. f|72.+l

 5           Th is type of study is a standard of antitrLrst practice. See, e.g.. LCD II, 261 F .R.D. at 606;'

 6   DRAM,2006 WL 1530166, at * 10. The merits of this methodology "will be adjudicated at trial

 7   based upon economic theory, data sources, and statistical techniques that are entirely common to the

 8   class." SRAM,2008 WL 4447 592, at x6 (quoting NASDAQ, 1 69 F.R.D . at 521). Moreover, damage

 9   calculations for the class need not be exact. Comcast, I 33 S. Cf . aI 522 (citing Story Parchment,282

r0   U.S. at 563). As the Ninth CircLrit noted in E//¡s, these types of experl disputes are not to be resolved

11   on a motion for class certification . 657 F.3d 970. And, as the Ninth Circuit has also recently

12   reaffinned, to the extent damage calculations may have individualized elements, that fact will not

13   defeat class certification. Jimenez v. Allstate Ins. Co.,765 F.3d I l6l, I 167 (9fh Cir. 201 4); Leyva v.

14
     ot
       Dr.Leitzinger's use of average quafterly prices is entirely permissible. See, e.g., Greenhaw v.
t5   Lubbock County Beverage Ass'n.,721 F.2d 1019, 1029 (5th Cir. 1983), overruled on other grounds,
     Int'l lMoodworkers of Am., AFL-CIO & its Local No. 5-376 v. Champion Int'l Corp.,790 F.2d 1174,
16    1l8l n.8(5thCir. 1986)("itwasrnorereasonabletoapplythemarketaverageoverchargefigurein
     calculating damages rather than separate figures for each store in which purchases were made"); 1ir
17   re TFT-LCD (Flat Panel) Antitru.st Litig.,267 F.R.D. 583, 605 (N.D. Cal. 2010) ("LCD /1') (noting
     that averaged and aggregated data are used by courts in granting class ceftification); In re Static
r8   Randont Access Memory (SRAM) Antitrust Lirig.,264 F.R.D. 603,614 (N.D. Cal. 2009) (same);/ri
     re Nifedipine Antitrust Litig.,246 F.R.D. 365,37l (D.D.C. 2007) ("[T]he Court can find no fault in
19   fplaintiffs' expefi's] calculations of aggregate changes in price"); In re Cardizem CD AntitrusÍ
     Litig.,200 F.R.D. 326,350 (E.D. Mich. 2001) (use of average prices did not undermine defendants'
20   dueprocessrights); InreNASDAQMkt.-MakersAntitrustLitig.,l69F.R.D.493,523 (S.D.N.Y.
      1996) ("NASDAQ") (proper to show that the price range was affected "generally" by defendants'
21   prices); In re Pre.s.sure Sen.sitive Label.stock Anritru.st Litig.,03-MDL-]l556,2007 WL 4l 50666. at
     *20 (M.D. Pa. Nov. 19,2007) ("Defendants argue that
                                                                   [plaintiffs' expert's] proposed rnultiple
22   regression analysis is flawed because it yields an average overcharge. . . . This will not defeat
     Plaintiffs' class cenification motion because Plaintiffs do not have to present a precise damages
¿)   formula at this stage"); In re Scrap Metal Antitrust Litig.,02 CV 0844,2006 WL 2850453, ar*16
     (N.D. Ohio, Sept.30,2006), aff'd,521F.3d 5\7 (6rh Cir.2008), cert. denied,556 U.S. 1152(2009)
1A   ("Scrap Metal") (in situation where plaintiffs' expefi used average price spreads to compute average
     undercharges, court upheld jury verdict for plaintiffs; "[r]ecognizingrhaf antitrust cases present
25   damages questions that often are not amenable to concrete mathematical calculations, court [sic]
     have regularly recognized averaging of overcharges as a valid method"); Presidio Golf Club o.f 5.F.,
26   Inc. v. Nat'l Linen Supply Corp., No. C l1-431 SW, I 976 WL 1359, aL *5 CN.D. Cal. Dec. 30, 1976)
     (only an "'illustration of generalized injury"'is needed forthe impact element of class cerlification);
27   Gordon v. Microsoft Corp., No. MC 00-5994,2003 WL 23105550, at *3 (D. Minn. Dec. 15, 2003)
     (use of average overcharge analysis was pennissible in determining what classwide damages would
28   have been in the absence ofdefendants'conduct).
                                                          .\A
                                                          LA

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  I   Medline Indus., Lnc.,716 F.3d 510, 513-14 (9th Cir. 2013). See also Edvvards v. Nat'l Milk

 2    Producers Fed'n, C ll-04766 JSW, 2014 WL 4643639 (N.D. Cal. Sept. 16,2014).

 J            Here, Dr. Leitzinger has presented a workable and widely accepted methodology for

 4    tneasuring classwide darnages. In doing so, moreover, Dr. Leitzinger has gone well beyond Rule

 5    23's requirement that the DPPs merely identify a damage rnethodology that is not "so insubstantial

 6    as to amount to no method aI all." On the contrary, Dr. Leitzinger has constructed a complete

 7    working model (though preliminary) that can be applied to determine damages on a classwide

 8    basis.a2 Leitzinger Rep.Tf 82-83.

 9                   2.      A Class Action Is Superior Here.
10            Rule 23(b)(3) requires that a class action be "superior to other available methods for fairly

ll    and efficiently adjudicating the controversy." "[]f common questions are found to predominate in

t2    an antitrust action, . . . coufts generally have ruled that the superiority prerequisite of Rule 23(bX3)

t3    is satisfied." LCD 1,267 F.R.D. at3l4. Here, it would be incredibly inefficient to litigate the

t4    predominating common issues in individual proceedings. In addition, "[i]n antitrust cases such as

t5    this, the damages of individual direct purchasers are likely to be too smallto justify litigation, but a

t6    class action would offer those with small claims the opporlunity for meaningful redress." SRAM,

17    2008 WL 4441592, at *7; Auto Lighting,276 F .R.D. at 375 (same). The prosecution of separate

l8    actions would also create the risk of inconsistent rulings, and could result in prejudice to the named

19    DPPs and Class members. Thus, "certification in this case would be far superior to, and more

20    manageable than, any other procedure available for the treatment of the factual and legal issues

21    raised by Plaintiffs' claims." Auto Lighting,276 F.R.D. aI315.

22    V.      CONCLUSION

23            For the foregoing reasons, the DPPs respectfully request that the couft grant class
4,1
L+    ceftification and appoint Guido Saveri and Saveri & Saveri Class Counsel pursuant to Rule 23(Ð.

25    a2
         The Court has rejected the proposition that every single class member must show harm at the
      ceftification stage: "Defendants' argument on this point is essentially that the IPPs must be able to
26
      prove at the class certifìcation stage that every single (or basically every single) class member was
      injured by Defendants' conduct. This contention is wrong. The Court's job at this stage is simple:
27
      determine whether the IPPs showed that there is a reasonable method for determining, on a
      classwide basis, the antitrust impact's effects on the class members. This is a question of
28
      methodology, not merit." CRT 1,2013 WL 5391 159, at *5 (citations omitted).

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